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Attorneys for Defendant,
Mikhail Iyerusalimets


                                 IN THE UNITED STATES DISTRICT COURT

                                           FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,                                      CASE NO. CR-18-00258-BLW

           Plaintiff,                                          DEFENDANTS’ NOTICE
    vs.                                                        OF INTENT TO INTRODUCE
                                                               EXPERT TESTIMONY
MIKHAIL IYERUSALIMETS, et. al,
                                                               (PERRY WOO)
          Defendants.




          The Defendants1, through their attorneys, intend to introduce testimony through Mr. Perry

Woo as an expert2 of the Department of Homeland Security U.S. Customs and Border Patrol

Protection (hereinafter “CBP”), pursuant to Federal Rule of Criminal Procedure 16(b) (1)(C).3

Pursuant to Federal Rules of Evidence 702, 703 and 705, Defendants are filing this written expert

witness summary that they intend to introduce as evidence in the trial or other necessary hearings

in this matter.




1
  This Notice is filed on behalf of Pavel Babichenko, Gennady Babitchenko, Piotr Babichenko, Timofey
Babichenko, Kristina Babichenko, Natalya Babichenko, David Bibikov, Ann Iyerusalimets, and Mikhail
Iyerusalimets, recognized collectively as the “Defendants.”
2
  Mr. Woo’s curriculum vitae is attached hereto as Exhibit 1.




MIKHAIL IYERUSALIMET’S NOTICE OF INTENT TO INTRODUCE EXPERT TESTIMONY REGARDING
CUSTOMS AND BORDER PATROL-1
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       Mr. Woo is a retired Homeland Security Supervisory Special Agent. He holds a Master of

Science in Public Administration from DePaul University. Mr. Woo has over twenty-seven (27)

years’ experience managing or conducting complex, multi-jurisdictional, corporate and

international criminal, civil, and administrative investigations to safeguard the financial, public

safety sectors and/or the United States.

       In addition, Mr. Woo had spent over twenty-two (22) years as a Special Agent with the

Department of Homeland Security, Homeland Security Investigation—in various roles including

investigating fraud and trafficking in counterfeit goods. Mr. Woo has provided expert testimony

as an expert witness for U.S. Customs and Border Protection pertaining to travel documents and

records in the Treasury Enforcement Communication System (TECS).

       Mr. Woo is expected to testify, among other things, regarding:

           •   His education and professional background, specifically his experience conducting
               complex, multi-jurisdictional, corporate and international criminal and civil, and
               administrative investigation as it relates to United States Customs and Border
               Protection.

           •   CBP’s inspection, seizure, fines, forfeiture processes and procedures relating to
               consumer electronic products that allegedly violate trademark, copyright and other
               intellectual property laws.

           •   How CBP targets certain items and packages at its port of entries and the standard(s)
               CBP uses in seizing such goods.

           •   When and why such goods are selected for seizure, the interaction between CBP
               agents and the alleged trademark holders, notices and restrictions for re-claiming
               the goods, the appraisal and seizure of the goods as well as storage of seized items.

           •   The processes and procedures of a dispute related to the seizure of goods at CBP
               ports including how such disputes are addressed, analyzed, litigated and eventually
               resolved through administrative processes. It is anticipated that Mr. Woo’s
               explanation will encompass the final disposition of unclaimed seized items
               including destruction of such property.




MIKHAIL IYERUSALIMET’S NOTICE OF INTENT TO INTRODUCE EXPERT TESTIMONY REGARDING
CUSTOMS AND BORDER PATROL-2
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      Dated: February 28   , 2020.         Respectfully Submitted,
                                                 SMITH HORRAS, P.A.


                                                 By /s/ Ellen N. Smith
                                                 Ellen N. Smith
                                                 Attorney for Defendant
                                                 MIKHAIL IYERUSALIMETS




MIKHAIL IYERUSALIMET’S NOTICE OF INTENT TO INTRODUCE EXPERT TESTIMONY REGARDING
CUSTOMS AND BORDER PATROL-3
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of March 2020, I filed the foregoing electronically
through the CM/ECF system, which caused the parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

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MIKHAIL IYERUSALIMET’S NOTICE OF INTENT TO INTRODUCE EXPERT TESTIMONY REGARDING
CUSTOMS AND BORDER PATROL-4
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      Attorney for Artur Pupko

                                           /s/ Ellen Smith




MIKHAIL IYERUSALIMET’S NOTICE OF INTENT TO INTRODUCE EXPERT TESTIMONY REGARDING
CUSTOMS AND BORDER PATROL-5
                  Case 1:18-cr-00258-BLW Document 400 Filed 02/28/20 Page 6 of 7

                                           PERRY N. WOO
                    7620 E. McKellips Road-Suite 4-202 • (714) 512-0134 • leo39320 ra rahoo.com

EXPERIENCE
27 years of experience managing or conducting complex, multi-jurisdictional, corporate and international criminal, civil,
and administrative investigations to safeguard the financial, public safety sectors of the United States.

MUFG Union Bank NA, Tempe, AZ                                                             November 2019 - Present
Anti-Money Laundering Operations
Vice President, Financial Intelligence Unit
• Team leader responsible for conducting anti-money laundering investigations on foreign correspondent banking
• Monitor, review, and conduct training on complex international investigations per U.S. BSA & FinCEN
• Referred and escalated investigations to the SAR Committee per U.S. PATRIOT Act.
• Worked with law enforcement, federal and state regulators, and outside agencies on 314(a) and 314(b) requests
• Expert knowledge of money laundering, bulk cash smuggling, PEPs, high-risk countries, OFAC, and Sanctions.
• Conducted internal audit and review of current procedural manual and developed best practices for SOP efficiencies.
 • Proficient on KYC, CDD, EDD, FATF, BSA, SARs, CTRs, CMIR.s and other financial monitoring strategies.

U.S. DEPARTMENT OF HOMELAND SECURITY                                            September 1997 -October 2019
HOMELAND SECURITY INVESTIGATIONS (HSI)
Supervisory Special Agent                                                       October 2016 - October 2019
• U.S. Customs & Border Protection, Air & Marine Operations Center, March Air Reserve Base.
• Provide law enforcement guidance and develop strategies for combating aviation and maritime federal violations such as
Customs fraud, narcotics smuggling, money laundering, human trafficking, and the proliferation of weapons of mass
destruction. •Reviewed FinCEN, SARs, and other financial reports related to federal investigations daily.

Operations Chief, Asia & Pacific Region, Headquarters, Washington D.C.            October 2014-October 2016.
•Managed 95 personnel comprised of Attaches, special agents, foreign investigators in U.S. and in 31 Asian countries.
•Managed a $7.8 million dollars operating budget for the entire Asia & Pacific region.
•Provided investigative & diplomatic liaison to foreign police assigned to embassies in Washington D.C.
•Conducted training, audits and reviews for compliance with agency policies and regulations.

Assistant Special Agent in Charge, Los Angeles field office, CA                      July 2009 - October 2014
•Managed the Financial, Trade Fraud Division with 80 special agents, task force police officers, and support staff.
• Led multi-agency task forces and certified undercover operations targeting international financial crime syndicates
engaged in money laundering, narcotics smuggling, trade fraud, financial & bank violations.
•Financial crimes representative on the LA & Orange County SAR Review Committee with IRS, FBI.
•Led Customs trade fraud investigations resulting in 120 arrests, 200 seizures worth $80M, $7M in forfeitures.
• Led financial investigations resulting in seizures of $5M, 14 arrests, and 2,400 kilograms of narcotics.
• Proactively fostered law enforcement partnerships to respond to threats and vulnerabilities in LA area
•Created/implemented internal audit procedures for seized property, self-inspection & financial budgets.

Supervisory Special Agent, Los Angeles field office, CA                      _     December 2006 -July 2009
• Supervised an elite Internet Crimes against Children task force comprised of HSI & FBI special agents,
Los Angeles Police Detectives, and Los Angeles County social workers·.
•Supervised 150 federal warrants resulting in 60 arrests and 100 deportations of alien sex offenders.
•Developed and implemented Operation ANGEL WATCH, an intelligence driven initiative targeting Los Angeles County
area registered sex offenders who may engage in international child sex tourism.
•Created Project TWISTED TRAVELER, an undercover operation targeting American child sex offenders in Asia.
Supervised 10 special agents in a 30-day undercover operation in Cambodia that netted 7 arrests and rescued 17 children.

National Program Manager, Headquarters, Washington, DC                          April 2003 -December 2006
•Served as the HSI Desk Officer for Central America and South East Asia overseas offices.
•Developing investigative cases in Customs fraud, counterfeit pharmaceuticals and cultural antiquities trafficking,
•Developed HSI's first child sex tourism program at the U.S. Customs Cyber Crimes Center.


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U.S. Customs, Department of the Treasury, Senior Special Agent, Chicago office, IT., September 1997 to April 2003
•Responsible for conducting complex, multi-jurisdictional, and international criminal investigations in Customs fraud,
narcotics trafficking, intellectual property rights, money laundering, child exploitation, FinCEN/global financial crimes
•Performed as bilingual undercover agent dismantling an Asian credit card fraud ring with 6 arrests.
•Set up first certified undercover money laundering operation targeting drug cartels operating in Chicago.
•Case agent in 4-year child sex tourism case that resulted in 11 arrests and 30 children rescued.
•Case agent in counterfeit Arabic music piracy that resulted in seizure of 50,000 CDs worth $IM
•Case agent in Customs fraud investigations that resulted in a civil penalty of $10M.
•Certified Computer Forensics Examiner in over 25 federal cyber investigations.

WELLS FARGO BANK, San Francisco,-C A                                               May 1992 to September 1997
Corporate Security Manager/ Investigator, San Francisco, CA
• Responsible for physical security, bank branches, data centers and cash vaults in San Francisco region.
•Recommended, developed, and implemented security programs, policies and procedures.
•Conducted investigations: bank robberies, bomb threats, kidnap, extortions, & workplace violence issues.
•Authorized to carry a concealed firearm, provided executive protection to senior Wells Fargo officials.
•Created Wells Fargo's 1st threat assessment program, investigate workplace violence in 13 states.
• Received extensive training in physical security, covert cameras and electronic alarming devices.

Financial Analyst, Commercial Banking Division, San Francisco, CA                  May 1992-September 1995
• Managed 10 Analyst responsible for conducting financial analysis of commercial businesses.
•Analyzed and interpreted financial statements, federal and state income tax returns.
• Provided in-depth financial analysis of commercial business assets, liabilities, and income statements.
• Provided technical and financial advice to all levels of management regarding the financial position of an individual or
corporation. Recipient of the President's Award for Outstanding Community Service.

OAKLAND POLICE DEPARTMENT, Oakland, CA                                                   1993- 1995
•Served in Special Operation Bureau and conducted vehicle patrols of high crime areas.
•Conducted misdemeanor & felony arrests for assault, battery, homicides, domestic violence, & robberies.
• Participated in Asian gang suppression operations and conducted search and arrest warrants.

EDUCATION
DePaul University, Chicago, Illinois
Masters of Science degree in Public Administration                                          June 2004

American Bankers Association, Duke University
Corporate Security Manager Certificate                                                      June 1996

California State University, Hayward, Hayward, California
Bachelors of Science degrees in Finance & Economics                                         June 1992

Chabot College, Hayward, California Associate Science Degree in Business                    December 1989


AwARDS & COMMENDATIONS
 • "Secretary's Award for Valor" -Presented by Secretary Jeh Johnson, U.S. Department of Homeland Security (2014)
• "Heroism Award" -Presented by President of the Federal Law Enforcement Officers Association (2014)
• "Exceptional Core Values Award" Presented by Director John Sandweg, Department of Homeland Security (2013)
• "International Investigations Award"-Presented by Director John Morton, Department of Homeland Security (2009)
• "Outstanding Investigative Group" -Presented by U.S. Attorney's Office, Central District of California (2008)
• "Excellence in Law Enforcement"-Presented by Director Julie Myers, Department of Homeland Security (2008)
• "Outstanding Investigative Group Award" - Presented by Special Agent in Charge, Los Angeles (2008 & 2009)
• "Officer of the Year Award" -Presented by Attorney General John Ashcroft, U.S. Department of Justice (2004)
•" Outstanding Investigations Award" -Presented by CEO, National Center for Missing & Exploited Children (2004)
• "Outstanding Group Investigation Award" - Presented by Int'l Org. of Asian Organized Crime fuvestigators (2004)
• "Honorary Gold Record Award" - Presented by the Recording fudustry Association of America (2002)

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